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                    Cooley
                    P-eter M. Adams                                                                                      Via ECF and Fax
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                    padams@cooley.com                           ~              1,         l.,(.) CV       S""Q-; '2.. ~ ,. ,2()            CV    ~9'
                    November 10, 2.020
                                                            4-t.          ~~·Qxlt.c::a?~~2,,'P
                    Honorable Alvin K Hetlerslein                                   I
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                    Daniel Patrick Moynihan           ,.             .ra,-,'2... ,           ~ ./       - LJ. ~                                     r "'"C-
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                    United S. tate5 Cou.rthouse
                    500 Pearl St. , Courtroom 14D
                    New York , NY10007-1312 A 4 ~
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                                                 C ---,    rdiJt_ 1o                l'M.J~IY'                                    ~bv. ~        II 2,4 2. ,
                    Re, &ey C. Honig~ at v. John David Hansen, et al., Cas• No. 1 ,20-cv-05872-AKH~                                       13. ~        •,
                    Dear Judge Hellerstein :                                    ..      c...a.. ~              • C. ~ 7)A.(' ~   / ',   l. ~c>,     IC> . . ., ,
                    We represent Defendants John David Hansen and Gregory P, Hanson (" Defendanfs''.') in the above-                            A,.,.- •
                    referenced action (the "Honig Action") and rn the related action captioned Grander Holdings, Inc., et al. v.
                    John David Nansen, et al., Case No. 1 :20-cv-8618-AKH (the ''Grander Action"). The. complaints in the5e / / • / ej -                   2D
                    actions are virtually identical - i. e., the '5an,e defendants, same factual ailegations, and same causes of
                    action: As a result, and rn the interest of efficiency and judiciai economy, counsel for Defendants ask_  ed'92-- J
                    Ptalhtiffs' counsel to stipulate to consolidation of the Honig and Gr-anderActions for all purposes. However,                  { C.
                    Plaintiffs' counsel refused and agreed to consolidate for discovery purposes.only, thereby necessitating
                    defendants' Motion to Consolidate, which is filed concurrently herewijh. In light of these developments,               ti'/ M_J-.
                    Defendants respectfully request an adjournment of Defendants' deadline t~ file a motion to dismiss the_flrst v,i-1...1o11. .--<---.,,
                    Amended Complaint (the "FAC"} currently set for November 16, 2020, until after the Motion to Consohdate
                    has been decided.

                    The parties to the Honig Action previously submitted a stipulation setting forth a proposed briefing schedule
                    for Oefendants· anticipated motion to dismiss the FAC. (ECF No. 35.) On October 14, 2020, the Court
                    approved the stipulation and set the briefing schedule for Defendants' motion to dismiss the FAC .. (ECF
                    No. 36.) l)nder that schedule, Defendants must file their motion to dismiss the FAC on or before November
                    16, 2020. Plaintiffs must file their opposition on or before December 28, 2020. And Defendants must file
                    their reply on or before January 15, 2021 .

                    If, however; the Court grants the Motion to Consolidate, then the parties· briefing schedule Will be moot As
                    such, requ iring. Defendants to file their motion to dismiss the FAC before the Court decides the Motion to
                    Consolidate will waste both the parties' and the Court's time and resources. Accordingly; Defendants
                    request an adjournment of the.ir current deadline to file a motion to dismiss the FAC until after the Motion
                    to Consolidate has been decided. In the event the Court denies the Motion to Consolidate, Defendants will
                    file their motion to dismiss the FAG within seven days of that date, or at such other time the Court deems
                    appropriate.

                    This is Defendants first request for an adj ournment of the deadllne to file their motion to dismiss the FAC .
                    The Honig Plaintiffs do not object to this request.




                                                       Co~ley LLP 440 1 Eastg~te M.ill S.in Diego. CA 92121
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                     Cooley
                     Honorable Alvin K. Hellerstein
                     November 10, 2020 ·
                     Page Two

                     Sincerely,
                     -~    - A/l
                 . .... r:.:~J~
                     Peter M. Adams




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